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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DAVID TALCOTT USSERY
 6
 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. Cr. S 05-34 LKK
                                     )
12                  Plaintiff,       )        REQUEST FOR SCHEDULING ORDER;
                                     )        ORDER
13        v.                         )
                                     )        RETROACTIVE CRACK COCAINE
14   DAVID TALCOTT USSERY,           )        REDUCTION CASE
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant DAVID TALCOTT USSERY, by and through his attorney,
18   Assistant Federal Defender David M. Porter, hereby requests the Court
19   issue the order lodged herewith setting a briefing schedule in
20   conjunction with the filing of an amended motion to reduce sentence
21   pursuant to 18 U.S.C. § 3582(c)(2).         Counsel for plaintiff, Assistant
22   U.S. Attorney Anne E. Pings, graciously indicated that she has no
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24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
              Case 2:05-cr-00034-KJM Document 208 Filed 04/14/08 Page 2 of 2


 1   objection to the proposed schedule.
 2   Dated:     April 9, 2008
 3                                  Respectfully submitted,
 4                                  DANIEL J. BRODERICK
                                    Federal Defender
 5
 6                                    /s/ David M. Porter
                                    DAVID M. PORTER
 7                                  Assistant Federal Defender
 8                                  Attorney for Movant
                                    DAVID TALCOTT USSERY
 9
10                                         O R D E R
11        For the reasons set forth above, and good cause appearing
12   therefor, the Court sets the following schedule:
13        Amended Motion:                 Due April 29, 2008
14        Government Response:            Due May 13, 2008
15        Reply:                          Due May 20, 2008
16        Hearing:                        June 3, 2008 at 9:30 a.m.
17        IT IS SO ORDERED.
18   Dated: April 14, 2008
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     REQUEST FOR SCHEDULING ORDER
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